              Case 3:21-cv-05635-BHS Document 14 Filed 10/06/21 Page 1 of 2




 1                                                                Honorable Benjamin H. Settle

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11                              UNITED STATES DISTRICT COURT
12                             WESTERN DISTRICT OF WASHINGTON

        NATHEN BARTON,                                       NO. 3:21-cv-05635-BHS

                                   Plaintiff
                v.                                               NOTICE OF DISMISSAL
                                                                   WITH PREJUDICE
        LENDINGPOINT, LLC, &

              and

        JOHN DOE 1-10

                                   Defendants.
13                                     NOTICE OF DISMISSAL

14          Defendant LENDINGPOINT, LLC. and Plaintiff Nathen Barton have come to an

15   agreement. Under FRCP 41(a)(1)(A) Plaintiff files this notice of dismissal with prejudice.

16   ______s/ Nathen Barton_____                        _____10/6/2021______
17            Nathen Barton                                    (Dated)

18   Nathen Barton
19   (718) 710 5784
20   4618 NW 11th Cir
21   Camas WA 98607
22   FarmersBranch2014@gmail.com
23
24
     NOTICE OF DISMISSAL - 1 / 2                                               NATHEN BARTON
     CAUSE NO. 3:21-CV-5635-BHS                                                4618 NW 11TH CIR
                                                                               CAMAS WA 98607
               Case 3:21-cv-05635-BHS Document 14 Filed 10/06/21 Page 2 of 2




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 3                                     CERTIFICATE OF SERVICE

 4          I hereby certify that on October 6, 2021, I caused the foregoing document to be

 5   electronically filed with the Clerk of the Court using the Electronic Filing (CM/ECF) system,

 6   which will send notification of such filing to all counsel of record and all pro se parties registered

 7   to use the CM/ECF system.

 8

 9   ______s/ Nathen Barton_____                           _____10/6/2021______
10           Nathen Barton                                        (Dated)
11
12

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     NOTICE OF DISMISSAL - 2 / 2                                                   NATHEN BARTON
     CAUSE NO. 3:21-CV-5635-BHS                                                    4618 NW 11TH CIR
                                                                                   CAMAS WA 98607
